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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


WOODHULL FREEDOM FOUNDATION
1601 18th Street NW #4
Washington, DC 20036,

HUMAN RIGHTS WATCH
350 Fifth Avenue, 34th Floor
New York, NY 10118-3299,
                                              Civil Case No. 18-cv-1552(RJL)
ERIC KOSZYK
5632 SE 68th Ave
Portland, OR 97206,

JESSE MALEY, a/k/a ALEX ANDREWS
1060 Lotus Pkwy, #1011
Altamonte Springs, FL 32714, and

THE INTERNET ARCHIVE
3300 Funston Ave
San Francisco, CA 94118,

      PLAINTIFFS,

v.

THE UNITED STATES OF AMERICA
and JEFFERSON B. SESSIONS, in his official
capacity as ATTORNEY GENERAL OF THE
UNITED STATES
950 Pennsylvania Avenue, NW
Washington, DC 20530,

      DEFENDANTS.




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                              CASE MANAGEMENT ORDER
                                         July 20, 2018
This case has been assigned to the calendar of Judge Richard J. Leon. The plaintiff(s) shall
immediately serve this Order on all parties, including any new parties to the action. If this
case came to the Court by a Petition for Removal, the removing defendant(s) shall serve this
order on all other parties.


Upon the Court’s motion, it is hereby


ORDERED that within thirty days of the defendants answering the complaint or filing other
motions under Rule 12(b) of the Federal Rules of Civil Procedure, or within thirty days of the
issuance of this order if an answer or Rule 12(b) motion has already been filed, the parties
shall confer pursuant to Federal Rule of Civil Procedure 26(f) and Local Civil Rule 16.3.1
No later than fourteen days following that meeting, counsel shall submit: (1) their Joint Meet
and Confer Statement addressing all topics listed in Local Civil Rule 16.3(c); and (2) a
proposed scheduling order(s) in accordance with Rule 16.3(d). Counsel are also directed to
include in their Joint Meet and Confer Statement a one-page statement of the facts of the case
and the statutory basis for all causes of action and defenses. Once the Joint Meet and Confer
Statement has been filed, the Court will schedule an initial status conference; and it is further




       1
          The May 17, 2001 amendment to Local Civil Rule 16.3 sets forth additional
categories of proceedings that are exempted from this Rule’s meet and confer requirements.
If counsel’s proceeding is exempt from the local rule’s requirements, counsel for both parties
shall jointly prepare and submit a statement to the Court indicating whether they believe the
matter will be resolved solely through the filing of dispositive motions and proposing a
scheduling timeline for the filing of such motions to the Court. Counsel shall also indicate
whether or not they believe an appearance before the Court will be necessary prior to
resolution of the dispositive motions.

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ORDERED that all counsel must familiarize themselves with the Federal Rules of Civil
Procedure, particularly Federal Rules of Civil Procedure 16 and 26, and the Local Rules of
the District of Columbia, “to secure the just, speedy, and inexpensive determination of [this]
action,” Fed. R. Civ. P. 1;2 and it is further


ORDERED that parties comply with the following chambers practices and policies:


1.     Courtroom Proceedings: All courtroom proceedings, unless otherwise indicated,
       will be conducted in Courtroom 18 on the sixth floor of the E. Barrett Prettyman
       United States Courthouse, 333 Constitution Avenue, N.W., Washington, D.C. 20001.
        Non-courtroom conferences and meetings will be held in Judge Leon’s chambers
       unless otherwise specified.


2.     Communications with Chambers: Counsel shall not contact the Court or its
       chambers regarding non-emergency matters by telephone, facsimile, letter, or by any
       other means. Chambers may not provide legal advice or comment on the status of any
       pending motions. Counsel may contact the Courtroom Deputy Clerk regarding
       emergency scheduling matters.


3.     Proposed Orders: All motions, whether filed through the Electronic Filing System
       (ECF) or otherwise, must be accompanied by a proposed order setting forth the relief
       or action sought. Under no circumstances shall the signature line appear alone on a
       page of the proposed order.




       2
           The Local Civil Rules are available at “http:\\www.dcd.uscourts.gov”.

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4.    Rescheduling Court Proceedings: Requests for continuances of court proceedings
      are strongly discouraged because of the inconvenience they cause to the Court. If
      counsel seeks to change a previously scheduled hearing date, counsel is directed to
      submit a written motion at least four days prior to the proceeding. In the event of an
      emergency, the four-day rule will be waived but counsel must still file a written
      motion in support of their request. The written motion must:
      a.      demonstrate good cause for the continuance;
      b.      state the opposing party’s position on the continuance; and
      c.      propose at least three alternative dates and times that would be convenient for
              all parties in the case. If counsel’s suggested dates and times are not available
              on the Court’s calendar, an alternative of the Court’s choosing will be selected.


5.    Court Appearances by Counsel: An attorney with authority to make scheduling
      decisions must appear on behalf of the parties at all court appearances. In addition,
      counsel must have their calendars and the calendars of any necessary co-counsel
      available with them for possible scheduling of future events related to the case. In the
      event that counsel is not a member of the Bar of this Court and is located outside the
      District, local counsel3 must be available to appear with the necessary authority to
      make scheduling decisions on behalf of all parties and counsel in the case.


6.    Motions for Extensions of Time to File Pleadings: Motions for extension of time to
      file pleadings are strongly discouraged unless both parties consent. Counsel seeking
      an extension of time must file a written motion and a proposed order. Such a motion
      must include:


      3
       LCvR 83.2(c) requires that an attorney who is not a member of the Bar of this
Court must obtain local counsel that is a member in good standing of this Court.

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      a.      the number of previous extensions requested and granted to each party;
      b.      the specific ground(s) for the motion; a statement of the effect that the Court’s
              granting of the motion will have on all other previously scheduled deadlines;
      c.      in cases where the motion seeks to extend the deadline for a dispositive
              motion, a suggested timeline for the filing of the opposition4 and reply; and
      d.      pursuant to Local Civil Rule 7(m), the moving party shall include a statement
              of opposing counsel’s position on the motion.
      Failure to comply with the Local Civil Rules or this Order may result in rejection of
      the request. The Court grants such motions only upon a showing of good cause,
      focusing on the diligence of the party seeking the continuance and any prejudice that
      may result if the Court denies the continuance.5


7.    Pleadings: Every pleading signed by an attorney shall, in conformity with Local Civil
      Rule 5.1(e), contain the name, address, telephone number, fax number, and bar
      identification number of the attorney and, where applicable, local counsel.


8.    Settlement and Alternative Dispute Resolution: In order to reduce litigation
      expenses and delay, to eliminate the anxiety of trial and the risk of an unsatisfactory
      outcome, it is desirable that settlement occur as early as possible in the litigation
      process. The Court is available to assist the parties in pursuing settlement early in the
      process. However, the Court will not delay trial so that the parties may participate in
      settlement discussions on the eve of trial.


      4
        The deadline for the opposition should be suggested only after consulting with
opposing counsel.
      5
        See Jackson v. Finnegan, Henderson, Farabow, Garrett & Dunner, 101 F.3d 145
(D.C. Cir. 1996).

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     It shall be the norm for all cases to be referred for some form of alternative dispute
     resolution (ADR). Pursuant to Rule 16.3, the parties’ Joint Meet and Confer
     Statement should address the potential benefit of ADR to their case, what steps should
     be taken to facilitate ADR, and the point during litigation at which ADR would be
     most appropriate. In considering what form of alternative dispute resolution the
     parties think the case is most suited, counsel are reminded that their options include
     mediation (either with a private firm or a Magistrate Judge), arbitration, early neutral
     evaluation, summary jury trial, or any other form of alternative dispute resolution that
     can be tailored to the needs of their case. If the parties believe that the case is not a
     candidate for alternative dispute resolution, they should provide the Court with an
     explanation of their position.


9.   Stipulations of Dismissal: Parties must submit a signed copy that includes a signature
     line for the Court. Under no circumstances shall the signature line appear alone on a
     page of the proposed order.


     SO ORDERED.

                                                              //s//
                                                   RICHARD J. LEON
                                                   United States District Judge




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